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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )          8:09CR368
                                            )
             Plaintiff,                     )
                                            )          ORDER
v.                                          )
                                            )
CONNIE FLORES SANCHEZ,                      )
                                            )
             Defendant.                     )



      UPON THE ORAL MOTION OF THE DEFENDANT,

      IT IS ORDERED that the Change of Plea hearing is continued to May 7, 2010 at
10:30 a.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor,
Roman L. Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.

       For this defendant, the time between April 27, 2010 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

      Since this is a criminal case, the defendant must be present, unless excused by
the Court.

      DATED this 27th day of April, 2010.

                                         BY THE COURT:


                                         s/ F.A. Gossett
                                         United States Magistrate Judge
